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                                                                       FILED
                  IN THE UNITED STATES DISTRICT COURT                May 14, 2024
                   FOR THE WESTERN DISTRICT OF TEXAS            CLERK, U.S. DISTRICT COURT
                                                                WESTERN DISTRICT OF TEXAS
                             WACO DIVISION
                                                                               lad
                                                             BY: ________________________________
                                                                                     DEPUTY
SWISSDIGITAL USA CO., LTD.,

           Plaintiff,
                                       Civil Action No. 6:23-cv-00196-ADA
     v.
                                          JURY TRIAL DEMANDED
SAMSONITE INTERNATIONAL S.A.,

           Defendant.


             DEFENDANT SAMSONITE INTERNATIONAL S.A.’S
            SUPPLEMENTAL BRIEF IN SUPPORT OF ITS REPLY
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       With jurisdictional discovery at a close,1 it is clear that Swissdigital has sued the wrong

entity in the wrong district. Indeed, six months and over 12,000 pages of discovery later,

Swissdigital has uncovered no facts with which to supplement its briefing in Opposition to

Plaintiff’s Motion to Dismiss, or in the Alternative, Transfer (Dkt. No. 24), while the facts set forth

in Samsonite Int’l’s its Motion (Dkt. 19) and Reply (Dkt. 25) have been confirmed.

I.     Venue Discovery Confirms There Is No Personal Jurisdiction Over Samsonite
       International

       Samsonite Int’l is a holding company and is not responsible for any alleged act of

infringement, because—as asserted in its Reply—it does not have any involvement in operations

at a product level. See Dkt. 25 (Reply) at 3–6. Indeed, documents show that over six years of

Samsonite Int’l board meetings, the board never discussed a single one of the forty-six different

accused products, nor did the board ever discuss implementing USB charging systems generally.

See generally, e.g., Ex. A (SAM-0004563) (board meeting minutes from March 15, 2023).

Instead, these discussions and decisions were made by Massachusetts-based Samsonite LLC, the

developer of nearly all the accused products. See Ex. B (Second Supp. ROG Resp. Nos. 1–5) at

8–11; Ex. C (Appx. A to Supp. ROG Resp. Nos. 1–5).

       In the unlikely event the Court finds that Samsonite Int’l did perform relevant activities,

not a single fact uncovered in venue discovery ties the relevant activities, or Samsonite Int’l, to




1
  On February 1, 2024, Swissdigital agreed to drop its remaining, untimely requests for three venue
depositions and further discovery regarding the personal addresses of former Samsonite
employees, and agreed that venue discovery was closed. Ex. E (Emls fr Altman, Draffin to
Benedict at 1) at 2. Swissdigital also indicated that it would not seek to supplement its opposition
to Samsonite’s motion to dismiss/transfer, unilaterally stating its belief that it was “fully briefed.”
Id. Samsonite understands that now, in retribution for Samsonite requesting to file this
supplement, Swissdigital has withdrawn its agreement to close venue discovery and will seek to
bring further disputes to the Court. Id. at 1. If Swissdigital follows through on this threat,
Samsonite’s position remains the same: venue discovery is closed.
                                                  1
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Texas. See Dkt. 25 (Reply) at 6–9. Samsonite LLC developed nearly all the products at its

Mansfield, Massachusetts headquarters, with local employees. See Ex. B (Second Supp. ROG

Resp. Nos. 1–5) at 8–11; Ex. C (Appx. A to Supp. ROG Resp. Nos. 1–5). Samsonite Int’l produced

850 design documents, totaling over 10,000 pages, related to the development of each accused

product all confirming this to be the case. Id. By contrast, no relevant activity occurred in Texas,

and no relevant employee lived in the state of Texas at the time of filing of the Complaint. Id. In

sum, prolonged and extensive jurisdictional discovery has confirmed that Samsonite Int’l is simply

not “responsible for [the] allegedly infringing acts, in Texas or otherwise.” Dkt. No. 25 (Reply)

at 4. As explained in the Motion and Reply, Samsonite Int’l has no contacts with the State of

Texas, and this Court has no personal jurisdiction over Samsonite Int’l. Id.

II.    Venue Discovery Has Also Confirmed That the District of Massachusetts Is Clearly
       the More Convenient Venue.

       Samsonite Int’l has a headquarters in D. Mass. See, e.g., Ex. D (SAM-0005177, March

2023 Trade Update on Mansfield, MA office letter-head). That should be the end of the inquiry.

Venue discovery has also confirmed that nearly all accused products were designed in

Massachusetts, and that nearly all individuals primarily responsible for the design, development,

and sales of the accused products reside within 100 miles of D. Mass.—none are subject to this

Court’s subpoena power. See Ex. B (Second Supp. ROG Resp. Nos. 1–5) at 8–11; Ex. C (listing

individuals’ location of employment and last known state of residence). 33 of the 36 persons

primarily responsible for the development of the accused products were employed by Samsonite

LLC at its Mansfield, Massachusetts location.2 See Ex. C. Of the 21 persons identified who are

no longer employed by Samsonite LLC, 15 have last known addresses within 100 miles of the



2
  One of the remaining three individuals worked at Samsonite LLC’s Chicago, IL location, and
two worked for eBags, LLC (later acquired) at its Colorado location.
                                                 2
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District of Massachusetts.3 Id. No relevant individual with primary responsibility for any aspect

of the 46 accused products had a last known address in Texas at the time of filing. Id.; see In re

TikTok, Inc., 85 F.4th 352, 361 (5th Cir. 2023) (“the factor of inconvenience to [] witnesses

increases in direct relationship to the additional distance to be traveled”). Discovery has thus

confirmed that all design and development activities for the accused products occurred in

Massachusetts, by current and former Samsonite LLC employees who still overwhelmingly work

and live within the Massachusetts court’s subpoena power. See Dkt. 25 (Reply) at 6–9.

       In sum, after 6 months and 12,000 pages of venue discovery on 46 accused products (45

added after the complaint was filed), Swissdigital has managed only to confirm that Samsonite

Int’l was right. The Court should dismiss this action because it has no personal jurisdiction over

Samsonite Int’l. In the alternative, venue should be transferred to D. Mass., which is clearly the

more convenient forum, because nearly all relevant activities occurred there, nearly all relevant

employees are located there, and Samsonite Int’l’s headquarters is located there.




3
 The remaining six individuals have last known address in New Hampshire (likely within 100
miles of D. Mass.), Colorado, Florida, Missouri, and Wisconsin. Again, none have last known
addresses in Texas.
                                                3
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Date: February 9, 2024               Respectfully submitted,

                                     /s/ Bailey K. Benedict
                                     Neil J. McNabnay
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                                     ATTORNEYS FOR DEFENDANT
                                     SAMSONITE INTERNATIONAL S.A.




                                     4
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                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5 on November 16, 2022. As of this date, all counsel of record

have consented to electronic service and are being served with a copy of this document through

the Court’s CM/ECF system and via electronic mail.


                                                     /s/ Bailey K. Benedict
                                                      Bailey K. Benedict

                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(g), counsel for the parties met and conferred via email on

Feb. 5, 2024. The parties discussed their positions on this motion. The discussions conclusively

ended in an impasse, leaving an open issue for the court to resolve. Counsel for Plaintiff

indicated that they oppose this motion.


                                                     /s/ Bailey K. Benedict
                                                     Bailey K. Benedict

             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I certify that the following document is authorized to be filed under seal pursuant to this

Court’s Amended Standing Order Regarding Filing Documents Under Seal and this Court’s OGP

Version 4.4. Interim Protective Order.

                                                     /s/ Bailey K. Benedict
                                                     Bailey K. Benedict




                                                 5
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     EXHIBITS A, B, C, D

    FILED UNDER SEAL
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                  EXHIBIT E
                Case 6:23-cv-00196-ADA-DTG Document 61 Filed 05/14/24 Page 9 of 12


Ethan Kovar

From:                               sdraffin@keyhanillc.com
Sent:                               Monday, February 5, 2024 8:39 PM
To:                                 Joon Chung
Cc:                                 Jacqueline Altman; Bailey Benedict; FRService-Samsonite-23cv196;
                                    dkeyhani@keyhanillc.com; fstephenson@keyhanillc.com; Andy Tindel
Subject:                            RE: Swissdigital v Samsonite; No. 6:23-cv-169 - Discovery Dispute Chart
Attachments:                        Discovery Dispute Chart - Juridictional Discovery - 2.5.24.docx


[This email originated outside of F&R.]



Dear counsel,

We are surprised that you are asking for additional briefing when Samsonite has already had the last word. Your request
for a supplemental brief is unreasonable and unacceptable in light of Samsonite's conduct throughout venue discovery
and its refusal to fully comply with its discovery obligations. As such, we will oppose your request for additional briefing.

Our previous email proposed a resolution to venue discovery, and--as stated--" we will agree that venue discovery is
closed and that Samsonite’s motion to dismiss/transfer has been fully briefed." If Samsonite does not agree that the
matter is fully briefed, Swissdigital will raise the outstanding discovery issues before the Court as originally proposed.

To that end, please find attached the discovery dispute chart. We did not edit any of Samsonite's positions, but we did
move Samsonite's position regarding its additional issue, "End of Venue Discovery," to the correct column. No changes
were made to Swissdigital's original positions. Please see Swissdigital's response to Samsonite's additional issue.

We will send the completed chart to the Court tomorrow.

Best,

Scott Draffin
Keyhani LLC

-----Original Message-----
From: "Joon Chung" <chung@fr.com>
Sent: Monday, February 5, 2024 6:55pm
To: "Jacqueline Altman" <jaltman@namanhowell.com>, "Bailey Benedict" <benedict@fr.com>, "FRService-Samsonite-
23cv196" <FRService-Samsonite-23cv196@fr.com>
Cc: "dkeyhani@keyhanillc.com" <dkeyhani@keyhanillc.com>, "fstephenson@keyhanillc.com"
<fstephenson@keyhanillc.com>, "Scott Draffin" <sdraffin@keyhanillc.com>, "Andy Tindel" <atindel@andytindel.com>
Subject: RE: Swissdigital v Samsonite; No. 6:23-cv-169 - Discovery Dispute Chart



Counsel,

Defendant intends to move the Court for leave to ﬁle a three-page supplemental brief in support of Dkt. No. 25, Defendant’s Reply
in Support of its Mo on to Dismiss Plain ﬀ’s Amended complaint. By 12:00pm noon CT tomorrow, 2/6, please let us know whether
Plain ﬀ opposes.

Best,

                                                                1
                                                                                                                                                               Case 6:23-cv-00196-ADA-DTG Document 61 Filed 05/14/24 Page 10 of 12
Joon

From: Jacqueline Altman <jaltman@namanhowell.com>
Sent: Thursday, February 1, 2024 3:21 PM
To: Bailey Benedict <benedict@fr.com>; Joon Chung <chung@fr.com>; FRService-Samsonite-23cv196 <FRService-Samsonite-
23cv196@fr.com>
Cc: dkeyhani@keyhanillc.com; fstephenson@keyhanillc.com; Scott Draffin <sdraffin@keyhanillc.com>; Andy Tindel
<atindel@andytindel.com>
Subject: RE: Swissdigital v Samsonite; No. 6:23-cv-169 - Discovery Dispute Chart

Bailey,

Thank you for your response. As you know, the OGP requires the par es to no fy the Court enough in advance of the Markman
hearing if there are any unresolved mo ons to transfer. In looking at our schedule, claim construc on brieﬁng will begin shortly. We
have already amended the scheduling order once to push back all claim construc on related deadlines and we recognize that doing
so again would not be favorable. Because of that, we will agree that venue discovery is closed and that Samsonite’s mo on to
dismiss/transfer has been fully briefed. We can ﬁle a no ce with the Court conﬁrming that the mo on is ready for resolu on, per
the OGP.

Thank you,



                                                                                                                                                                                                                                                                                                                Jacqueline P. Altman
                                                                                                                                                                                                                                                                                                                Partner

                                                                                                                                                                                                                                                                                                                Oﬃce: (254) 755-4100
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                                                                                                                                                                                                                                                                                                                jaltman@namanhowell.com
                                                                                                                                                                                                                        EST. 1917                                                                               400 Aus n Ave., Suite 800
                                                                    AUSTIN | FORT WORTH | SAN ANTONIO | WACO                                                                                                                                                                                                    Waco, TX 76701
                                                                                                                                                                                                                                                                                                                www.namanhowell.com




From: Bailey Benedict <benedict@fr.com>
Sent: Monday, January 29, 2024 8:43 PM
To: Jacqueline Altman <jaltman@namanhowell.com>; Joon Chung <chung@fr.com>; FRService-Samsonite-23cv196 <FRService-
Samsonite-23cv196@fr.com>
Cc: dkeyhani@keyhanillc.com; fstephenson@keyhanillc.com; Scott Draffin <sdraffin@keyhanillc.com>; Andy Tindel
<atindel@andytindel.com>
Subject: RE: Swissdigital v Samsonite; No. 6:23-cv-169 - Discovery Dispute Chart
Jacqueline , Thank you . I have attache d our additions to t he Chart. W e (o bviou sly) did not edit any o f Swissdigital’s p osition s. We di d add the text of t he interrogatories at iss ue to the Is sue column, for the court’ s co nvenien ce. Ad ditionally, your chart did n ot incl ude o ur reque




Jacqueline,

Thank you. I have a ached our addi ons to the Chart. We (obviously) did not edit any of Swissdigital’s posi ons. We did add the
text of the interrogatories at issue to the Issue column, for the court’s convenience.

Addi onally, your chart did not include our request that venue discovery be closed, which we made in our last email to you
regarding the deposi ons, and which was a subject of our meet and confer. We have added that as a row to the chart. Please add
your response within three business days.

-Bailey
                                                                                                                                                                                                                                                                                                                                2
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Bailey K. Benedict
Principal :: Fish & Richardson P.C.
713 654 5331 direct :: benedict@fr.com



From: Jacqueline Altman <jaltman@namanhowell.com>
Sent: Wednesday, January 24, 2024 4:48 PM
To: Joon Chung <chung@fr.com>; Bailey Benedict <benedict@fr.com>; FRService-Samsonite-23cv196 <FRService-Samsonite-
23cv196@fr.com>
Cc: dkeyhani@keyhanillc.com; fstephenson@keyhanillc.com; Scott Draffin <sdraffin@keyhanillc.com>; Andy Tindel
<atindel@andytindel.com>
Subject: Swissdigital v Samsonite; No. 6:23-cv-169 - Discovery Dispute Chart

[This email originated outside of F&R.]

Counsel,

Following our meet and confer, please see attached for the discovery dispute chart with Swissdigital’s position as well as
Exhibits A-C. Per the OGP, please provide Samsonite’s position to us within 3 business days and we will send the
completed chart to the Court and CC you.

Best,

Jacqueline



                                                   Jacqueline P. Altman
                                                   Partner

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message.
***************************************************************************************************
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